                   Case: 1:14-cr-00022-MRB Doc #: 129 Filed: 03/03/16 Page: 1 of 7 PAGEID #: 602


AO 24SB (Rev. 10/15) Judgment in a Criminal Case
         Sheet I




                                          United States District Court
                                                   SOUTHERN District of OHIO (Cincinnati)

               UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE                     - AMENDED

                                   v.


                                                                                Case Number:            l:14cr022-4
                             Lester Kidd
                                                                                USM Number:             72114-061

                                                                                William Gallagher, Esq.
                                                                                Defendant's Attorney
THE DEFENDANT:

^| pleaded guilty to count(s)       1ofthe Indictment
l~l pleaded nolo contendere to count(s)
    which was accepted by the court.
• was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended          Count
21 USC 841(a)(1),                 Conspiracy to Possess with Intent to Distribute 500 Grams               1/21/2014
(b)(l)(B)(ii) and 846             or More of Cocaine




        The defendant is sentenced as provided in pages 2 through                      of thisjudgment The sentence is imposed pursuantto
the Sentencing Reform Act of 1984.
O The defendant has been found not guilty on count(s)
^Count(s) 2,3 and 4ofthe Indictment              • is            (3 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to
payrestitution, the defendant mustnotify thecourtand United States attorney of material changes in economic circumstances.

                                                                        Ftb            <&, ^ijp
                                                                       uate offlmpositi
                                                                                Imposition ofJudgment


                                                                       /^A^/' /dL^^~
                                                                       Signature ofJudge




                                                                       Michael R. Barrett, United States District Judge
                                                                       Name and Title orJudge



                                                                       Date                       ^
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AO 24SB (Rev. 10/15) Judgmentin CriminalCase
                      Sheet 2 — Imprisonment
                                                                                                        Judgment—Page     2    of
 DEFENDANT:                    Lester Kidd
 CASE NUMBER:                  l:14cr022-4



                                                              IMPRISONMENT

          The defendant is herebycommitted to the custody ofthe United States Bureau of Prisons to be imprisoned for a
 total term of:
 Count 1: eighty (80) months with credit for time served




          The court makes the following recommendations to the Bureau of Prisons:
              The Defendant participate in the RDAP program;*
              the Defendant participate in an apprenticeship program;*
              the Defendant be placed in a BOP facility nearest the Southern District of Ohio*



      |^| The defendant isremanded to the custody ofthe United States Marshal.

      |~~) The defendant shall surrender to the United States Marshal for this district:
          [~1 at                                  fj a.m.      Q p.m.          on
          D as notified by the United States Marshal.

      |~~| The defendant shall surrender for service of sentence at the institution designated bythe Bureau of Prisons:
          l~l before 2p.m. on                                              .
          |~| as notified bythe United States Marshal.
          •     as notified by the Probation orPretrial Services Office.


                                                                     RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                           to

 at                                                 , with a certified copy ofthis judgment.


                                                                                                    UNITED STATES MARSHAL




                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
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A024SB (Rev. 10/15)Judgmentin a Criminal Case
           Sheet 3 — Supervised Release
                                                                                                                  Judgment—Page                of

 DEFENDANT:                     Lester Kidd
CASE NUMBER:                    l:14cr022-4


                                                             SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 Count I: five (5)years
             The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
 the Bureau of Prisons.

 The defendant shall not commit another federal, state or local crime.
 The defendant shallnot unlawfullypossess a controlled substance. The defendant shall refrain from any unlawfuluse of a controlled substance. The
 defendant shall submitto onedrug test within IS days of release from imprisonment andat least two periodic drug teststhereafter, asdetermined by the
 court

 r—i The above drug testing condition is suspended, based on the court'sdetermination that the defendant poses a low risk of
 1—' future substance abuse. (Check, ifapplicable.)
 1^1 The defendant shall not possess afirearm, ammunition, destructive device, or any other dangerous weapon. (Check ifapplicable.)
 IXl The defendant shall cooperate in the collection ofDNA as directed by the probation officer. (Check, ifapplicable.)
         The defendant shall comply with therequirements of theSex Offender Registration and Notification Act(42 U.S.C. § 16901, el seq.) as directed bythe
 (_| probation officer, die Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is astudent, or was convicted
         of a qualifying offense. (Check, ifapplicable.)

 \] The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
             If thisjudgment imposes a fine orrestitution, it is acondition of supervised release that thedefendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
             The defendant must comply with the standard conditions mat have been adopted by this court as well as with any additional conditions on the
 attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1) the defendant shall notleave thejudicial district without thepermission of the court orprobation officer;
   2) thedefendant shall report totheprobation officer inamanner and frequency directed bythe court orprobation officer;
   3)     the defendant shall answer truthfully all inquiries bythe probation officer and follow the instructions of theprobation officer;
   4)     the defendant shall support hisorherdependents and meetother family responsibilities;
   5) thedefendant shall work regularly ata lawful occupation, unless excused bytheprobation officer for schooling, training, orother acceptable reasons;
   6) thedefendant shall notifythe probation officer at least tendays prior to any change inresidence oremployment;
   7) the defendant shall refrain from excessive use of alcohol and shall notpurchase, possess, use, distribute, oradminister any controlled substance orany
           paraphernalia related to any controlled substances, exceptas prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, oradministered;
   9)     thedefendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
           granted permissionto do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plainview ofthe probation officer;
  11)     the defendant shall notify the probation officerwithin seventy-twohours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to actas an informer or a special agent of a law enforcement agency without the permission of the
          court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit die probation officer to make such notificationsand to confirm the defendant's compliance with
           such notification requirement.
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AO 245B (Rev. 10715) Judgment in a Criminal Case
        Sheet 3A — Supervised Release
                                                                                                    Judgment—Page       4       of
DEFENDANT:                  Lester Kidd
CASE NUMBER:                l:14cr022-4


                                        ADDITIONAL SUPERVISED RELEASE TERMS

1. The defendant shall participate in substance abuse treatment, which includes random drug testing, at the direction of the Probation Officer.
The defendant will make a co-payment for treatment services not to exceed S2S per month, which is determined by the defendant's ability to
pay.


2. The defendant shallparticipate in a program or course of study aimedat improvinghis employment skills, for example, participate in or
complete a vocational training program or the Workforce Development Program, at the direction ofhis probation officer.
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AO 24SB (Rev. 10/15)Judgmentin a Criminal Case
         Sheet 5 — Criminal Monetary Penalties

                                                                                                         Judgment — Page                of
 DEFENDANT:                        Lester Kidd
 CASE NUMBER:                      l:14cr022-4


                                                  CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties underthe scheduleof payments on Sheet 6.

                       Assessment                                           Fine                              Restitution

 TOTALS            S   100.00                                           S                                 S


•    The determination ofrestitution is deferred until                  .An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.


•    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                    Total Loss*                       Restitution Ordered                      Priority or Percentage




TOTALS


 f~1 Restitution amount ordered pursuant to plea agreement S

•     The defendant must pay interest on restitution and a fine ofmore than $2,500, unless the restitution or fine is paid in full before the
       fifteenth dayafter the date ofthejudgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 maybe subject
      to penalties for delinquency and default, pursuantto 18 U.S.C. § 3612(g).

•     The court determined that the defendant does not have the ability to pay interest and it isordered that:
      |~1 the interest requirement iswaived for the            Q fine       Q restitution.
      I~l the interest requirement for the          Q) fine     Q restitution ismodified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 24SB (Rev. 10/15)Judgmentin a Criminal Case
         Sheet 6 — Schedule of Payments

                                                                                                           Judgment — Page               of

 DEFENDANT:                 Lester Kidd
CASE NUMBER:                 l:14cr022-4


                                                       SCHEDULE OF PAYMENTS

 Havingassessedthe defendant's ability to pay, payment ofthe total criminalmonetary penalties is due as follows:

 A |3 Lump sum payment ofS 100.00                              due immediately, balance due
           Q not later than                                         ,or
            Efl in accordance             I 'I C.   I I D.           E, or       123 F below; or
B •         Payment to begin immediately (may be combined with []C,                 Q D,        • Fbelow); or
C •         Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                     (e.g., 30 or60days) after the date ofthis judgment; or
 D     fj Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                      overa period of
                           (e.g., months or years), to commence                     (e.g., 30 or60 days) after release from imprisonment to a
           term of supervision; or
            Paymentduringthe term of supervisedrelease will commence within         60      (e.g., 30 or 60 days) after release from
            imprisonment. The courtwill set the payment plan based on anassessment ofthe defendant's ability to payat thattime; or
      (3 Special instructions regarding the payment ofcriminal monetary penalties:
           While incarcerated, if the Defendant is working in anon-UNJCOR orGrade 5 UNICOR job, the Defendant shall pay $25.00 per
           quarter toward his fine obligation. If working ina Grade 1to 4 UNICOR job,the Defendant shall pay 50% of hismonthly pay
           toward the fine obligation. Any change in this schedule shallbe made only by orderofthis Court.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, exceptthose payments madethrough the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk ofthe court.

 The defendant shall receive credit for all payments previously made toward anycriminal monetary penalties imposed.



 [~1 Joint and Several
      Defendantand Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 O The defendant shall pay the cost ofprosecution.
 |~1 The defendant shall pay the following court cost(s):
 E3 The defendant shall forfeit the defendant's interest in the following property to the United States:
      See page 7.


 Payments shallbe applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B (Rev. 10/15)Judgmentin a Criminal Case
         Sheet 6B — Schedule of Payments

                                                                           Judgment—Page   7     of
DEFENDANT:                 Lester Kidd
CASE NUMBER:               1:14cr022-4


                                            ADDITIONAL FORFEITED PROPERTY

a. A Tanfoglio model Combat Sport, 10mm caliber pistol, serial number
EA50095;

b. a Smith & Wesson model 686, .357caliber pistol, serial numberCFN3224;

c. a Taurusmodel PT145 Millennium Pro, .45 caliberpistol, serial number
NZL64553; and

d. a Titan, model Titan, .25 caliber pistol, serialnumber D814064.
